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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA, et al.,

                           Plaintiffs,            Case No. 1:20-cv-03010-APM

v.                                                HON. AMIT P. MEHTA

GOOGLE LLC,

                           Defendant.


STATE OF COLORADO, et al.,

                           Plaintiffs,            Case No. 1:20-cv-03715-APM
v.
                                                  HON. AMIT P. MEHTA
GOOGLE LLC,
                           Defendant.             FILED UNDER SEAL




                                  [PROPOSED ORDER]
      Upon consideration of the Plaintiff States’ Motion for Sanctions Against Google, LLC

And An Evidentiary Hearing To Determine Appropriate Relief, IT IS HEREBY ORDERED:

      1.     The Motion is GRANTED;
      2.     The Court sets an evidentiary hearing on the matter of Google’s spoliation of chat
             messages for [DATE];
      3.     No later than [three weeks prior to DATE] Google shall provide to the
             Plaintiff States:
             a.     A copy of its litigation hold in this case, as well as any reminders thereto
                    and a list of individuals who received the litigation hold;
             b.     Written declarations from each custodian who received the litigation hold
                    or its reminder notices, setting forth (i) whether and under what
                    circumstances they turned “history on” for any specific chat messages and
                    (ii) whether and under what circumstances they participated in “history
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                     off” chats from May 1, 2019 to the present;



         4.   No later than [two weeks prior to DATE] Google shall produce a corporate
              witness or witnesses to sit for a Rule 30(b)(6) deposition at which time the
              witness(es) shall answer questions regarding the topics set forth in the Notice of
              Deposition, attached as Exhibit 52 to the United States’ Motion for Sanctions
              Against Google, LLC And An Evidentiary Hearing To Determine The
              Appropriate Relief.




Dated:
                                                           Hon. Amit P. Mehta
                                                           United States District Court Judge




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